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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 20-8955 FMO (PVCx)                               Date     May 3, 2021
 Title             Christopher Chester, et al. v. Island Express Helicopters, Inc., et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                           None
                Deputy Clerk                    Court Reporter / Recorder              Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                      None Present
 Proceedings:              (In Chambers) Order Re: Pending Motions

       For the reasons set forth in the Court’s Order of May 3, 2021, in Vanessa Bryant, et al. v.
Island Express Helicopters, Inc., et al., CV 20-8953 FMO (PVCx), IT IS ORDERED THAT:

       1. Third-party defendant United States of America’s Motion to Dismiss (Document No. 23)
is granted in part and denied in part. The fifth cause of action for declaratory relief set forth in
Island Express Helicopters, Inc. and Island Express Holding Corp.’s Third-Party Complaint is
hereby dismissed. The Motion is denied in all other respects.

         2. Plaintiffs’ Motion to Remand (Document No. 25) is denied.

         3. Plaintiffs’ Joinder (Document No. 26) is denied as moot.

       4. Except for the claim for declaratory relief, the United States shall file its Answer to the
Third-Party Complaint no later than May 14, 2021.




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                                                         Initials of Preparer           vdr




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